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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

INTERNATIONAL BUSINESS
MACHINES CORPORATION,
Plaintiff, C.A. No. 22-590-GBW
v. JURY TRIAL DEMANDED
ZYNGA INC.
Defendant.
VERDICT FORM

In answering the below questions, you are to follow all the Court’s jury instructions.

INFRINGEMENT

QUESTION 1a: Did IBM prove by a preponderance of the evidence that Zynga infringed Claim
8 of the °849 patent?

Checking “YES” below is a finding for IBM.
Checking “NO” below is a finding for Zynga.
Claim 8: YES []NO

Ifyou answered “NO” for Question la, please skip to Question 2a. Otherwise, proceed
to Question 1b.

QUESTION 1b: If you answered “YES” to any claim in Question la, check the box below for
each accused game that you found IBM proved by a preponderance of the evidence to infringe
claim 8 of the ’849 patent:
101 Okey Plus:
Black Diamond Slots:
Boggle With Friends:
(anak Okey Plus:
Crosswords With Friends:
CSR Racing 2:

RE
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Dawn of Titans:

Empires & Allies:

Empires & Puzzles:
Farmville 2:

Farmville 2: Country Escape:
Farmville 2: Tropic Escape:
Farmville 3:

Game of Thrones Slots:

Gin Rummy Plus:

Harry Potter: Puzzles & Spells:
Hit It Rich!:

Merge Dragons!:

Merge Magic!:

New Words With Friends:
Okey Plus:

Puzzle Combat:

Spades Plus:

Toon Blast:

Toy Blast:

Wizard of Oz Magic Match:
Wonka Slots:

Wonka’s World of Candy:
Words With Friends 1:
Words With Friends 2:
Wizard of Oz Slots:

Zynga Poker:

ST AIT TEAST

Proceed to Question 2a.
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QUESTION 2a: Did IBM prove by a preponderance of the evidence that Zynga infringed Claim
13 of the ’849 patent?

Checking “YES” below is a finding for IBM.
Checking “NO” below is a finding for Zynga.
Claim 13: YES []NO

Ifyou answered “NO” for Question 2a, please skip to Question 3. Otherwise, proceed to
Question 2b.

QUESTION 2b: If you answered “YES” to any claim in Question 2a, check the box below for
each accused game that you found IBM proved by a preponderance of the evidence to infringe
claim 13 of the ’849 Patent:

101 Okey Plus:

Bid Whist Plus:

Black Diamond Slots:

Boggle With Friends:

Canak Okey Plus:

Crosswords With Friends:

CSR Racing 2:

Dawn of Titans:

Empires & Allies:

Empires & Puzzles:

Farmville 2:

Farmville 2: Country Escape:

Farmville 2: Tropic Escape:

Farmville 3:

Game of Thrones Slots:

Gin Rummy Plus:

Harry Potter: Puzzles & Spells:

Hit It Rich!:

Merge Dragons!:

Merge Magic!:

New Words With Friends:

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Okey Plus:

Puzzle Combat:

Spades Plus:

Toon Blast:

Toy Blast:

Wizard of Oz Magic Match:
Wonka Slots:

Wonka’s World of Candy:
Words With Friends 1:
Words With Friends 2:
Wizard of Oz Slots:
Zynga Poker:

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Proceed to Question 3.

QUESTION 3: Did IBM prove by a preponderance of the evidence that Zynga’s Empires &
Puzzles infringed claim 1 of the 719 Patent?

Checking “YES” below is a finding for IBM.
Checking “NO” below is a finding for Zynga.
YES [INO

If you answered “NO” to both Questions la and 2a, skip to Question 5. Otherwise, answer
Question 4.
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WILLFUL INFRINGEMENT

You must answer Question 4 below if you answered “YES” to Question la or Question
2a above.

QUESTION 4: Did IBM prove by a preponderance of the evidence that Zynga’s infringement of
the °849 patent was willful?

Checking “YES” below is a finding for IBM.
Checking “NO” below is a finding for Zynga.

YES [ ]NO

Proceed to Question 5.

INVALIDITY

You must answer Questions 5 and 6 below.

QUESTION 5: Did Zynga prove by clear and convincing evidence that the following claims of
the °849 Patent are invalid?

Checking “YES” below is a finding for Zynga.

Checking “NO” below is a finding for IBM.

Claims: [YES we

Claim 13: (_] YES NO

QUESTION 6: Did Zynga prove by clear and convincing evidence that claim 1 of the °719
Patent is invalid?

Checking “YES” below is a finding for Zynga.

Checking “NO” below is a finding for IBM.

C1 yes ao

Proceed to the following page.
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DAMAGES

Ifyou marked “YES” for either Question la or Question 2a and “NO” for the
corresponding claims in Question 5, you found the claim infringed and not invalid, and you must

answer Question 7.

QUESTION 7: What sum of money do you find IBM has proven by a preponderance of
the evidence would be a reasonable royalty to compensate IBM for Zynga’s use of the ’849
patent from May 2, 2016 to July 3, 2023?

Amount (in U.S. doltars) cb ‘10, O00, 00.00

Ifyou marked “YES” for Question 3 and “NO” for Question 6, you must answer
Question 8 below.

QUESTION 8: What sum of money do you find IBM has proven by a preponderance of
the evidence would be a reasonable royalty to compensate IBM for Zynga’s use of the ’719
patent from March 2, 2017 to July 10, 2022?

Amount (in U.S. dollars): $ 1, qo O J O00. 00

PATENTABLY DISTINCT

QUESTION 9: Did Zynga prove by clear and convincing evidence that Claim 13 of the ’849
Patent is not patentably distinct from the claims of the ’209 Patent?

Checking “YES” below is a finding for Zynga.

Checking “NO” below is a finding for IBM.
[_] YES NO

The signature page appears on the next page.
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We, the jury, unanimously agree to the answers to the above questions and return them under the
instructions of this Court as our verdict in this case.

